Case 1:05-cr-10018-.]DT Document 17 Filed 05/13/05 Page 1 of 3 Page|D 23

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IN THE UNITED STATES DISTRICT COURT ' l
FOR THE WESTERN DISTRICT OF TENNESS]Q§HM l 3 AH lU= l6

 

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'“ F irl\l.-JACKS(]!`\J
UNlTED STATES OF AMERICA, )
)
Plaintiff, )
)

VS. ) No. OS-IOOIS-T

)
TIMOTHY ISAIH CAMPBELL, )
)
Defendant. )

 

ORDER REVOKING SHOW CAUSE ORDER AS TO TIMOTHY
ISAIH CAMPBELL

 

A report date for Timothy lsaih Campbell was scheduled for 9:15 a.m. on May 13,
2005. Neither Mr. Campbell nor his attorney Rarnsdale O’DeNeal appeared at that time.
Because of the failure of Timothy lsaih Carnpbell to appear for the report date, the court
initially ordered that Mr. Campbell’s bond be revoked and that he be taken into custody.
However, upon reviewing the minutes of the proceeding Which occurred on May 6, 2005, the
court notes that Mr. Carnpbell would be notified of the new date for him to appear to give
his report. Given the failure of Mr. Campbell ’ s attorney to appear for two consecutive report
dates, it appears that Mr. Carnpbell’s failure to appear at the report date on May 13, 2005, is
due to the failure of his attorney to notify him of that report date.

Therefore, the order revoking Mr. Campbell ’s bond, ordering his arrest, and ordering

him to show cause why he should not be held in contempt for his failure to appear is hereby

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Case 1:05-cr-10018-.]DT Document 17 Filed 05/13/05 Page 2 of 3 Page|D 24

revoked.

IT IS SO ORDERED.

 

JAMES D. TODD
UNITED STATES DISTRICT JUDGE

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DISTRIC COURT - wESRNTE D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case l:05-CR-10018 was distributed by faX, mail, or direct printing on
May 13, 2005 to the parties listed

 

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Honorable J ames Todd
US DISTRICT COURT

